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  4:00 pm in Courtroom 4B via video conference, counsel will receive separate
          invitation.
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